     Case 1:22-cr-00015-APM       Document 309-1    Filed 09/13/22   Page 1 of 9




                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA,

       v.                                    Criminal No. 22-cr-00015-APM

 ELMER STEWART RHODES, et al,

                     Defendant.



  MEMORANDUM IN SUPPORT OF MOTION TO CONTINUE TRIAL AND
  FOR APPOINTMENT OF SPECIAL MASTER TO ADMINISTER DIGITAL
                        DISCOVERY

                            Evidentiary hearing requested.

      NOW comes Defendant, ELMER STEWART RHODES III (“Rhodes”), by

and through his counsel of record, and respectfully moves this Court for an order

continuing trial until proper necessary discovery can take place. At present,

neither Rhodes nor his codefendants, nor any of the defense teams in this case, are

able to adequately prepare for trial.

      Upon information and belief, this set of cases stemming from the protests on

January 6, 2021 constitute the most massive and complex set of cases in the

history of the federal courts. Discovery in these cases is in the range of 50 to 100

terabytes of data; with each defendant dealing with 3 to 5 terabytes of discovery

directly material to him.
     Case 1:22-cr-00015-APM       Document 309-1    Filed 09/13/22   Page 2 of 9




      Moreover the sifting of this discovery to determine which images and/or

exhibits are useful, material or relevant, requires extreme time, resources, energy

and preparation for each defendant and defense team.

      Yet this case is being fast-tracked to a trial scheduled to begin on September

26, in just two weeks. This is the most massively complicated case in American

history, with the shortest amount of time allowed for trial preparation. And

Rhodes and other codefendants are facing potential life in federal prison if

convicted.

      The largest and most complex case in history is being allotted the shortest

time to prepare. And Rhodes and codefendants are being deprived of the tools

necessary to defend themselves.

      The government’s advantage in this case could not be greater. This trial

scheduled to start on September 26 will be like a little league team facing the New

York Yankees.

      Counsel has alerted counsel for the United States of this motion; and the

United States objects to the motion.

              MEMORANDUM OF POINTS AND AUTHORITIES

      At present the U.S. Department of Justice has conceded that January 6

represents the most complicated set of cases in the Department’s history. By the
        Case 1:22-cr-00015-APM     Document 309-1     Filed 09/13/22   Page 3 of 9




Department’s admission, discovery in this case surpasses any in Justice

Department history.

         Multiple agencies, as well as officials and committees of the U.S. Congress,

have assumed simultaneous jurisdiction over the Jan. 6 investigations. Various

government officials, including the Chair of the U.S. House of Representatives

Select Committee on January 6, have contended and asserted a wide-ranging

conspiracy between Defendant Rhodes, Rhodes’ codefendants, the Oathkeepers

organization, Proud Boys, and President Trump or other elected officials.

President Trump was even impeached for his supposed role in directing the events

of January 6.

   I.       The Discovery presents a logistical nightmare.

         All of this presents a logistical nightmare for Rhodes and other defendants

trying to navigate through the many terabytes of digital discovery. Rhodes has

been held in four (4) different jails in the short time of his case; and each location

has presented its own obstacles for Rhodes to defend himself.

         Of the seven months of Rhodes’ incarceration, Rhodes has had access to

meaningful discovery for just two months. Now he is being forced to face trial of

the most complicated facts and issues of any case in American history, while

facing potential life imprisonment, with access to discovery that is dated June
     Case 1:22-cr-00015-APM     Document 309-1     Filed 09/13/22   Page 4 of 9




2022. It is now September 12, 2022 and Rhodes is being raced to trial in just two

weeks.

      While Rhodes’ codefendants in the D.C. jail have near-constant access to

discovery videos, Rhodes is incarcerated in a jail in Alexandria, Virginia where he

gets only two days per week to examine electronic discovery; by being transported

to the District Court to use computers. The discovery hard drive Rhodes is allowed

to use has not been updated in three months.

      Among other things, Rhodes and other Oathkeepers are charged with

seditious conspiracy “by force to prevent, hinder, and delay the execution of any

law of the United States” to “oppose the lawful transfer of presidential power by

force . . .” Witness Kellye SoRelle, a licensed attorney, was general counsel for

the Oathkeepers during the period, and can testify regarding her advice,

observations, and communications with Rhodes and the Oathkeepers organization.

      SoRelle coauthored and co-signed with Rhodes at least one of the published

public letters on the Oathkeepers website to President Donald Trump between

election night 2020 and Jan. 6 urging the president to invoke the Insurrection Act,

10 U.S.C. §251-§255, to investigate 2020 election improprieties. It was the

Oathkeepers’ purpose expressed in these published public letters—advocacy to a

public official for redress of grievances, protected under the 1st amendment—that

form the foundation for the indictment in this case.
     Case 1:22-cr-00015-APM     Document 309-1      Filed 09/13/22   Page 5 of 9




      SoRelle is a necessary witness. SoRelle literally provided legal counsel to

the Oathkeepers during the period when the indictment claims the Oathkeepers (led

by Rhodes) were engaging in a wide-ranging conspiracy to use force to thwart the

transfer of power between President Trump and President Biden. Upon

information and belief, SoRelle would testify that, in her observations and

professional opinion, Rhodes followed and complied with the law during this

period.

      Further, upon information and belief, SoRelle previously testified before the

Jan. 6 Committee of Congress that Rhodes and Oathkeepers under her observation

complied and followed federal law. Upon information and belief, SoRelle testified

to the Jan. 6 Committee that Rhodes and Oathkeepers—pursuant to her legal

advice, direct observation and counsel—are innocent of sedition, conspiracy, and

other claims in the indictment. SoRelle’s testimony is thus exculpatory evidence;

and Brady material. To withhold it or decline to give Rhodes adequate time to

obtain it would be error of an extreme magnitude.

      A. PROPOSAL FOR APPOINTMENT OF A SPECIAL MASTER

      One of the most cost-effective methods for managing and dispensing

discovery of such a massive volume is to engage a special master to help manage
     Case 1:22-cr-00015-APM      Document 309-1     Filed 09/13/22     Page 6 of 9




discovery. Special masters can promote efficiency in discovery, the phase of

litigation that is most likely to break down and cause delays to case resolution.

       Discovery in this case is more massive than the discovery in many cases

where courts have appointed special masters to help manage discovery. For

example, the Whitmer-kidnapping-plot case in the U.S. District of Michigan in

2021, the Bundy prosecutions in the U.S. District of Nevada both used special

masters and processing firms to manage, compile, dispense and compartmentalize

discovery that was less massive than the discovery in this case.

       Rhodes requests appointment of a special master in this case.

An appropriate appointment order will determine the scope of the master’s

authority, what issues may or may not be considered, the timeframe for addressing

those issues, and whether the master can communicate ex parte with the court.

How these items are addressed in the appointment order is a critical issue for all

parties in the litigation.

       B. ALLOCATION OF PAYMENT

       The question of who will pay for the special master is a crucial

consideration. Under Federal Rule of Civil Procedure 53, courts may allocate

payment responsibility based on a variety of factors including “the nature and

amount of the controversy, the parties’ means, and the extent to which any party is

more responsible than other parties for the reference to a master.” Rhodes requests
     Case 1:22-cr-00015-APM       Document 309-1     Filed 09/13/22    Page 7 of 9




the Court to allocate sufficient funds to pay for the master and his or her facilities

and infrastructure.

      Rhodes and his counsel propose the following discovery proposal:

   1. First, the basic categorization of this discovery must be analyzed and

      reviewed by a data management master who can assess the size, scope, and

      depth of the data and come up with a categorization plan.

   2. This special master, acting as an officer of the Court, will preside over the

      distribution, storage, and management of the discovery and make

      recommendations to the Court and the parties regarding these matters.


Dated: September 12, 2022



                                                      Respectfully Submitted,
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     Case 1:22-cr-00015-APM     Document 309-1      Filed 09/13/22   Page 8 of 9




                          CERTIFICATE OF SERVICE

       I hereby certify that this document is being filed on this September 12, 2022,
with the Clerk of the Court by using the U.S. District Court for the District of
Columbia’s CM/ECF system, which will send an electronic copy of to the
following CM/ECF participants. From my review of the PACER account for this
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     Case 1:22-cr-00015-APM   Document 309-1   Filed 09/13/22   Page 9 of 9




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